     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION


JOSEPH ASHWORTH, JAMES CLIETT,  )
RYAN COLDIRON, TERRY ENGLISH,   )
JOHN MICHAEL GREEN, WILLIE      )
HELMS, LEON HENSON, DONALD      )
KEITH MILES, DANIEL NICHOLS,    )
TIM PINKERTON, BRIAN RINKER,    )
WAYNE SILVA, JACKSON WILLIAMS,  )
JERRY BABER, CHARLES FOSTER,    )
JOHN MATHIS, BILLY PLATT,       )
On Behalf of Themselves and All )
Others Similarly Situated,      )
            PLAINTIFFS          )
                                )
V.                              )          CIVIL ACTION FILE NO. 1:16-CV-00160
                                )
WECTEC GLOBAL PROJECT SERVICES, )
INC.,                           )
          FIRST DEFENDANT       )
                                )
FLUOR ENTERPRISES, INC.,        )
          SECOND DEFENDANT      )


                          FIRST AMENDED COMPLAINT

      COME NOW Plaintiffs, on behalf of themselves and all others similarly

situated, and present the following allegations in support of their First Amended

Complaint against Defendants as follows:




                                        1
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 2 of 13




      1.     This is a collective action under the Fair Labor Standards Act, 29

U.S.C. § 201 et seq. (“FLSA”), brought on behalf of the above-named workers and

all other welding inspectors employed by either defendant at the Plant Vogtle

Nuclear Facility (“Plant Vogtle”) located near Waynesboro, in the County of Burke,

in the State of Georgia. These workers did not receive proper compensation for

overtime hours and/or work “off the clock”, and they are entitled to relief

pursuant to the FLSA.


      2.     Plaintiffs allege that, pursuant to the FLSA, they are entitled to

recover from one or more of the defendants: (1) unpaid minimum wage and

unpaid overtime compensation; (2) liquidated damages; (3) pre-judgment and

post-judgment interest; and (4) attorney fees and costs of litigation.


      3.     Plaintiffs are also entitled to recover unpaid wages based upon their

individual contracts with one or both defendants pursuant to the statutory and

common law of the State of Georgia.


      4.     Plaintiffs are also entitled to recover unpaid wages based upon

defendants’ unjust enrichment in obtaining the benefits of plaintiffs’ overtime

labor without paying proper compensation.




                                          2
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 3 of 13




                              JURISDICTION AND VENUE


      5.       This honorable Court has subject matter jurisdiction over this

controversy.


      6.       Defendants are subject to the jurisdiction of this Court, and venue is

proper.


                                       PARTIES


      7.       During the past five years, each named plaintiff has been employed

at Plant Vogtle, and although they have no supervisory duties, they have been

assigned the title of “welding superintendents”.


      8.       Each named plaintiff is a covered individual within the meaning of

the FLSA.

      9.       During all or a portion of the past five years, WECTEC Global Project

Services, Inc. (“WECTEC”) has been either an employer or co-employer of each

plaintiff at Plant Vogtle.


      10.      At all relevant times, defendant WECTEC was, and continues to be,

an employer engaged in interstate commerce within the meaning of the FLSA.




                                           3
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 4 of 13




      11.      WECTEC is a business entity organized and operating under the laws

of the State of Louisiana with operations at facilities located in many states,

including the State of Georgia. This defendant’s registered agent for service of

process in the State of Georgia is CT Corporation System, 1201 Peachtree Street,

NE, Atlanta, Georgia 30361. Service of process may be perfected upon WECTEC

through its registered agent.

      12.      WECTEC maintains, or has maintained, an office in Burke County,

Georgia. WECTEC is subject to the jurisdiction of this Court, and venue is proper.

      13.      On information and belief, at all relevant times, defendant WECTEC

has had gross revenues in excess of $500,000.00 per year, and has been an

enterprise engaged in commerce, and interstate commerce, within the meaning

of the FLSA.

      14.      At all relevant times, defendant WECTEC employed each named

plaintiff within the meaning of the FLSA.

      15.      At all relevant times, the work performed by each named plaintiff

was directly essential to the business operated by defendant WECTEC.

      16.      Subsequent to March 31, 2016, one or more of the named plaintiffs

has been employed at Plant Vogtle by defendant Fluor Enterprises, Inc. (“Fluor”).




                                            4
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 5 of 13




      17.    At all relevant times, defendant Fluor was, and continues to be, an

employer engaged in interstate commerce within the meaning of the FLSA.

      18.    Fluor is a business entity organized and operating under the laws of

the State of Georgia with facilities located in many states, including the State of

Georgia. This defendant’s registered agent for service of process in the State of

Georgia is Corporation Service Company, 40 Technology Parkway South, Suite

300, Norcross, Georgia 30092. Service of process may be perfected upon Fluor

through its registered agent.

      19.    Fluor maintains an office in Burke County, Georgia. Fluor is subject

to the jurisdiction of this Court, and venue is proper.

      20.    On information and belief, at all relevant times, defendant Fluor has

had gross revenues in excess of $500,000.00 per year, and has been an enterprise

engaged in commerce, and interstate commerce, within the meaning of the FLSA.

      21.    At all relevant times, defendant Fluor employed each named plaintiff

within the meaning of the FLSA.

      22.    At all relevant times, the work performed by each named plaintiff

was directly essential to the business operated by defendant Fluor.

      23.    At all relevant times, each named plaintiff has been a non-exempt

employee within the meaning of the FLSA.

                                          5
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 6 of 13




                             FACTUAL BACKGROUND

      24.    Throughout each named plaintiff’s employment with one or more of

the defendants, he has routinely worked over forty (40) hours per week.

      25.    Although each named plaintiff has consistently worked more than

forty (40) hours per week, one or more of the defendants has failed to pay

overtime wages. Rather, each named plaintiff was paid regular wages, rather

than overtime wages calculated at a rate of 1.5 times regular wages, for his

overtime hours.

      26.    In addition, one or more of the defendant employers required some

or each of the named plaintiffs to work without compensation on a regular basis.

Their supervisors forced them to attend pre-shift meetings which generally lasted

approximately twenty - thirty minutes each, and the plaintiffs were not

compensated for this time. Their supervisor expressed his feeling that plaintiffs

and their co-workers “owed” the company a certain amount of work time which

should not be compensated. This “owed” company time was also referred to as

“professional time”.

      27.    Furthermore, defendants did not compensate plaintiffs for extra

hours spent “on the job”, including pre-shift and post-shift time inside the

security gate of the facility, and certain work hours during holidays.

                                          6
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 7 of 13




      28.    Defendants have knowingly and willfully operated their businesses

with a policy of not paying appropriate overtime compensation, and in certain

instances, minimum wage compensation, to each named plaintiff, and

others similarly situated employees.

      29.    Upon information and belief, at all relevant times, the wage and hour

and all related employee compensation policies and practices of the defendants

were centrally and collectively dictated, controlled, and ratified.

      30.    Defendants knowingly and willfully disregarded the provisions of the

FLSA as evidenced by their failure to compensate plaintiffs, and other similarly

situated employees, at the statutory overtime rate of time and one-half for all

hours worked in excess of forty (40) hours per week when defendants knew or

should have known such was due, and that non-payment of these wages would

financially injure the plaintiffs, and other similarly situated employees.

      31.    Defendants failed to properly disclose or apprise the named

plaintiffs, and other similarly situated employees, of their rights under the FLSA.


      32.    As a direct and proximate result of the actions of the defendants,

each named plaintiff, and all similarly situated employees, are entitled to recover




                                          7
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 8 of 13




an award of appropriate regular rate and appropriate overtime rate

compensation.


      33.    After a diligent search, each plaintiff has determined that he is not in

possession of fully sufficient documents and records to detail herein the total

number of unpaid hours of work, and the total number of unpaid overtime hours

(which were compensated only at his “regular” rate of pay). These documents

and records are presumably in the possession of the defendants, who have a legal

duty to maintain and preserve such records. Furthermore, once these documents

are turned over to the plaintiffs, they shall amend these pleadings to identify with

particularity the unpaid hours of regular time, and overtime.


      34.    As a direct and proximate result of the actions of the defendants, and

the willful disregard by the defendants of the provisions of the FLSA, plaintiffs are

entitled to liquidated damages pursuant to the FLSA in an amount equal to their

unpaid overtime and other unpaid compensation.


      35.    Plaintiffs are furthermore entitled to an award of reasonable

attorney fees, costs, and expenses.




                                          8
     Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 9 of 13




                            COLLECTIVE ACTION ALLEGATIONS


       36.    The preceding paragraphs are incorporated by reference as if set

forth verbatim herein.


       37.    Plaintiffs bring this collective action on behalf of themselves and all

other persons similarly situated pursuant to 29 U.S.C. §§ 207 and 216(b),

specifically, as follows:


              All welding inspectors, currently or formerly given the

              job title of “welding superintendent”, employed by

              defendants at Plant Vogtle at any time during the three

              year period preceding August 19, 2016 who were paid

              straight time (rather than time and a half) for overtime

              hours, and/or worked “off the clock” at pre-shift meetings

              without compensation.


       Upon information and belief, plaintiffs believe that the definition of the

class may be further refined following discovery of defendants’ records.


       38.    Plaintiffs, as well as other similarly situated workers, were denied

overtime and straight time wages as a result of defendants’ pay practices, and



                                           9
    Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 10 of 13




many of these individuals are still employed at Plant Vogtle and continue to be

denied overtime and straight time wages as a result of defendants’ pay practices.


      39.    Defendants’ actions in denying overtime and straight time wages to

the plaintiffs were intentional and constitute willful violations of the FLSA.


      40.    Defendants have been unjustly enriched as a result of its accepting

the work of the plaintiffs and other similarly situated employees without proper

compensation. It would be unjust to allow defendants to enjoy the fruits of the

collective classes’ labor without proper compensation.


      41.    One or more defendants have breached their contractual duties to

multiple plaintiffs by failing to pay for hours worked.


      42.    Based upon the foregoing, plaintiffs bring the following claims

against defendants on behalf of themselves and others similarly situated:


      (a)    violations of the FLSA;


      (b)    unjust enrichment; and,


      (c)     breach of contract.


      WHEREFORE, plaintiffs respectfully request that this honorable Court grant

the following relief:


                                          10
      Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 11 of 13




       (a)   a trial by jury;


       (b)   all applicable statutory and common law damages;


       (c)   all unpaid wages, both overtime and non-overtime;

       (d)   a declaration that defendants have violated (and continue to violate)

the FLSA;


       (e)   declaratory judgment that the practices complained of are unlawful

under the FLSA;


       (f)   an Order designating this action as a collective action under the FLSA,

and directing the issuance of notice pursuant to 29 U.S.C. § 216(b) for the federal

and state claims of the class;

       (g)   an Order appointing plaintiffs and plaintiffs’ counsel to represent

those individuals opting into the collective action;


       (h)   an Order awarding plaintiffs’ reasonable attorneys’ fees and costs;

and


       (i)   any further relief which this Court deems appropriate under the

circumstances.

       Respectfully submitted this 24th day of January, 2017.

                                          11
    Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 12 of 13




                                  /s/ Troy A. Lanier
                                  TROY A. LANIER
                                  GA State Bar No. 437775
Troy A. Lanier, P.C.
P. O. Box 2426
Augusta, GA 30903
(706) 823-6800
tlanier@tlnaierlaw.com




                                    12
    Case 1:16-cv-00160-JRH-BKE Document 31 Filed 01/24/17 Page 13 of 13




                              CERTIFICATE OF SERVICE

      This is to certify that I have this day served all parties to this action in

accordance with ECF procedures, as follows:

                   Kathleen McLeod Caminiti
                   kcaminiti@fisherphillips.com
                   Fisher & Phillips LLP
                   430 Mountain Avenue, Suite 303
                   Murray Hill, New Jersey 07974

                   Matthew R. Simpson
                   msimpson@fisherphillips.com
                   Fisher & Phillips LLP
                   1075 Peachtree Street, NE
                   Suite 3500
                   Atlanta, GA 30309

                  John Winthrop Alden
                  jalden@kilpatricktownsend.com
                  Joseph H. Huff
                  jhuff@kilpatricktownsend.com
                  James H. Coil, III
                  jcoil@kilpatricktownsend.com
                  Kilpatrick Townsend & Stockton, LLP
                  100 Peachtree St., NE, Suite 2800
                  Atlanta, GA 30309
            This 24th day of January, 2017.
                                        s/Troy A. Lanier
                                        State Bar No. 437775
                                        Post Office Box 2426
                                        Augusta, GA 30903
                                        706/823-6800
                                        tlanier@tlanierlaw.com


                                           13
